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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7
      JOHN PICKERING,                                   CASE NO. C24-00592-KKE
 8
                              Plaintiff(s),
              v.                                        ORDER TO SHOW CAUSE
 9
      AMAZON.COM INC et al.,
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                    Defendant(s).
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             On June 24, 2024, the Court denied Plaintiff’s motion for service of his pro se complaint
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     by the United States Marshals Service. Dkt. No. 7. Plaintiff then filed a motion for reconsideration
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     of that order, Dkt. No. 8, which the Court likewise denied. Dkt. No. 9. Since Plaintiff’s request,
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     he has yet to file proof of service.
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             Under Federal Rule of Civil Procedure 4(m), “[i]f a defendant is not served within 90 days
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     after the complaint is filed, the court—on motion or on its own after notice to the plaintiff—must
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     dismiss the action without prejudice against that defendant or order that service be made within a
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     specified time.” FRCP 4(m). Plaintiff filed his complaint on June 11, 2024, but has not shown
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     proof of service within 90 days. Dkt. No. 6.
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     //
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     //
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     ORDER TO SHOW CAUSE - 1
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 1          Accordingly, Plaintiff is ORDERED to show cause by October 16, 2024, why this case

 2   should not be dismissed for failure to serve.

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 4          Dated this 16th day of September, 2024.

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                                                      Kymberly K. Evanson
 8                                                    United States District Judge

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     ORDER TO SHOW CAUSE - 2
